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                     6 Luke Hasskamp, and Luis Blanquez
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                    10 San Diego, CA 92101
                    11 Local Counsel for Plaintiff
                    12                      UNITED STATES DISTRICT COURT

                    13                         SOUTHERN DISTRICT OF CALIFORNIA

                    14
                    15 BRIAN P. MANOOKIAN,                             Case No. 21CV0562 WQH BLM

                    16           Plaintiff,                            JOINT MOTION TO CHANGE
                                                                       DATE FOR HEARING ON
                    17             vs.                                 MOTION TO DISMISS

                    18 BONA LAW P.C., JAROD BONA,
                       DAVID CODELL, AARON GOTT,                       Date: July 19, 2021
                    19 LUKE HAASKAMP, AND LUIZ
                       BLANQUEZ;
                                                                       Hon. Judge William Q. Hayes

                    20                               Defendants.
                    21
                    22
                    23            Plaintiff, Brian Manookian and Defendants Bona Law P.C., Jarod Bona, David

                    24 Codell, Aaron Gott, Luke Hasskamp, And Luis Blanquez, by and through their
                    25 respective counsel, hereby move the court for an order to change the date on which
                    26 Defendants’ Motion to Dismiss, currently scheduled on July 19, 2021 before Judge
                    27 William Hayes, is set for hearing from July 19, 2021 to September 27, 2021.
                    28            The Parties agree that Plaintiff shall file his opposition to Defendants’ Motion
LEWIS
BRISBOIS                 4841-6453-5280.1                                              Case No. 21CV0562 WQH BLM
BISGAARD
& SMITH LLP                                       NOTICE OF MOTION AND MOTION TO DISMISS
ATTORNEYS AT LAW
                   Case 3:21-cv-00562-WQH-BLM Document 7 Filed 06/29/21 PageID.273 Page 2 of 3




                     1 to Dismiss on or before September 6, 2021. Defendants’ Reply shall be due on
                     2 September 20, 2021
                     3            IT IS FURTHER AGREED AND STIPULATED that this stipulation may be
                     4 executed in counterparts and exchanged by facsimile and/or email, and all parties’
                     5 facsimile/email copies shall constitute the agreement among the parties and their
                     6 counsel.
                     7
                         DATED: June 29, 2021
                     8
                     9
                    10                                      By:        /s/ Brian Slome
                    11
                                                                  BRIAN SLOME
                    12                                            KENNETH FELDMAN
                                                                  LEWIS BRISBOIS BISGAARD &
                    13
                                                                  SMITH
                    14                                            Counsel for Defendants
                    15
                    16
                    17 DATED: June 29, 2021              By: _____/s/__John Spragens____________

                    18                                        JOHN SPRAGENS, ESQ.
                                                              SPRAGENS LAW PLC
                    19                                        Lead Counsel for Plaintiff
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LEWIS               28
BRISBOIS
BISGAARD
                         4841-6453-5280.1                         2                 Case No. 21CV0562 WQH BLM
& SMITH LLP                                    NOTICE OF MOTION AND MOTION TO DISMISS
ATTORNEYS AT LAW
                   Case 3:21-cv-00562-WQH-BLM Document 7 Filed 06/29/21 PageID.274 Page 3 of 3




                     1                        CERTIFICATION OF ELECTRONIC SERVICE
                     2                                 Manookian v. Bona Law, et al.
                                            USDC, Southern District Case No. 21CV0562 WQH BLM
                     3 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                     4       At the time of service, I was over 18 years of age and not a party to the action.
                       My  business address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am
                     5 employed in the  office of a member of the bar of this Court at whose direction the
                     6 service was made.
                             On June29, 2021, I served the following document(s): STIPULATION
                     7 AND REQUEST        TO CHANGE HEARING ON MOTION TO DISMISS
                     8       I served the documents on the following persons at the following addresses
                     9 (including fax numbers and e-mail addresses, if applicable):

                    10    Frank J. Johnson, Esq.                          John Spragens, Esq.
                          FrankJ@johnsonfistel.com                        john@spragenslaw.com
                    11    Kristen O’Connor, Esq.                          SPRAGENS LAW PLC
                    12    KristenO@johnsonfistel.com                      311 22nd Ave. No.
                          JOHNSON FISTEL, LLP                             Nashville, TN 37203
                    13    655 West Broadway, Suite 1400                   Telephone: (615) 983-8900
                    14    San Diego, CA 92101                             Facsimile: (615) 682-8533
                          Telephone: (619) 230-0063
                    15    Facsimile: (619) 255-1856                       Lead Counsel for Plaintiff
                    16                                                    (Pro Hac Vice forthcoming)
                          Local Counsel for Plaintiff
                    17
                    18
                    19            The documents were served by the following means:
                    20           (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                                  filed the documents with the Clerk of the Court using the CM/ECF system,
                    21            which sent notification of that filing to the persons listed above.
                    22        I declare under penalty of perjury under the laws of the United States of
                         America and the State of California that the foregoing is true and correct.
                    23
                                  Executed on June 29, 2021, at San Diego, California.
                    24
                    25
                    26
                    27                                                 Jennifer Cannone

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BRISBOIS
BISGAARD
                         4841-6453-5280.1                             1                  Case No. 21CV0562 WQH BLM
& SMITH LLP                                         NOTICE OF MOTION AND MOTION TO DISMISS
ATTORNEYS AT LAW
